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                            Exhibit 8
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                           August 25, 2023

                           Independent Monitoring Team
                           c/o Maggie Hickey, Independent Monitor
                           233 South Wacker Drive, Suite 7100
                           Chicago, IL 60606
                           Maggie.Hickey@afslaw.com

                           Office of the Attorney General of Illinois
City of Chicago            c/o Christopher Wells, Chief of Public Interest Division
Brandon Johnson, Mayor     100 West Randolph Street, 12th Floor
                           Chicago, IL 60601
                           Christopher.Wells@ilag.gov
Department of Law
Mary Richardson-Lowry,     VIA EMAIL
Corporation Counsel
                                  RE:         State of Illinois v. City of Chicago, 17 cv 6260
                                              Response to Comments regarding CPD BWC Policy
121 North LaSalle Street                      (S03-14)
Suite 600
Chicago, Illinois 60602
(312) 744-0220
                           The City requests that the entirety of this production be afforded confidential
(312) 744-5185 fax         treatment under the Freedom of Information Act (“FOIA”), 5 U.S.C. Section 552,
                           the Illinois Freedom of Information Act, 5ILCS 140/1 and other applicable law,
www.cityofchicago.org      rule or regulation. As the production of these materials is subject to the
                           confidentiality orders entered in the above-captioned case, such production is not
                           intended to, and does not, waive any applicable privilege, work product protection
                           or other legal protection. Any transmission of protected information shall be
                           considered inadvertent and covered by the Order of the District Court under
                           Federal Rule of Evidence 502(d). Finally, the materials may contain confidential
                           information covered by the Illinois Juvenile Court Act, which are being provided
                           subject to the requirements of Administrative Special Order 19-04 entered by the
                           Circuit Court of Cook County, Illinois, on April 25, 2019.

                           IMT and OAG:

                           On June 15, 2023, the City and CPD produced the latest draft of CPD’s Body
                           Worn Camera Policy (S03-14) and related documents. The OAG and IMT
                           provided written comments to the City on July 26, 2023, and August 6, 2023,
                           respectively. In addition to the written comments, both the IMT and OAG
                           requested a meeting to discuss the policy revisions and timelines. On August 9,
                           2023, the City responded that a meeting would be beneﬁcial but indicated that a
                           written response to certain IMT and OAG comments was necessary in order for
                           the meeting to be productive. The City writes now to provide those written
                           responses to the IMT and OAG comments.


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                                                  CHICAGO, ILLINOIS 60602
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History of CPD’s S03-14 (Body Worn Cameras) Productions
On November 20, 2020, the City and CPD produced the then current versions of S03-14 and S03-05
(In-Car Video Systems) solely to address the requirements of Consent Decree paragraph 576, which
sets forth requirements for random audits of body-worn and in-car camera recordings. (See Monitor
576). The OAG provided comments to this production on December 23, 2020.
On April 28, 2021, the City and CPD produced the updated draft of S03-14 to the IMT and OAG for
review and comment towards preliminary compliance with Consent Decree paragraphs 58, 236 – 241,
451, and 576. (See MONITOR 845). The OAG and IMT provided written comments to S03-14 on
May 26, 2021, and May 28, 2021, respectively.
On May 19, 2022, the City and CPD produced an updated draft S03-14 as well as responses to the
IMT and OAG comments from May 2021. (See MONITOR 1339). The OAG and IMT provided
written comments to the May 2022 S03-14 draft on June 16, 2022, and August 22, 2022, respectively.
On November 17, 2022, the CPD produced CPD’s updated draft of S03-14 which included revisions
based upon the previous IMT and OAG comments as well as written responses to those comments.
(See CPD 1158). The OAG and IMT provided responses to this draft of S03-14 on December 9,
2022, and December 31, 2022, respectively.
On June 15, 2023, the City and CPD produced the latest revised draft of S03-14 which included
revisions and responses to the IMT and OAG comments. As this was the ﬁfth production of a draft
of this policy, the City requested any written responses by July 3, 2023. (See MONITOR 1584). The
OAG provided written comments to the City on July 26, 2023, (42 days after submission) and the
IMT provided written comments to the City on August 6, 2023 (52 days after submission). Neither
the IMT nor OAG requested additional time for review of this latest submission of S03-14.
Responses to Certain IMT and OAG Comments
The written responses received from the OAG and IMT in July and August 2023 contain comments
the City believes are inaccurate statements of the law or misleading description of CPD’s eﬀorts to
provide guidance to its oﬀicers concerning Body-Worn Cameras.
OAG Comment
The OAG’s comment letter from July 26, 2023, contains the following:
       As OAG has previously requested, please delete and/or revise Section V.B.2 of this directive
       related to the deactivation of body-worn camera equipment when oﬀicers respond to public
       safety questions during a public safety investigation for an incident involving a ﬁrearm
       discharge and/or oﬀicer-involved death.

       Paragraph 238(b) of the Consent Decree requires CPD to implement a policy that requires
       oﬀicers “to activate their cameras when responding to calls for service and during all law
       enforcement-related activities that occur while on duty, and to continue recording until the
       conclusion of the incident(s).” The Illinois Law Enforcement Oﬀicer Worn Body Camera Act
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       deﬁnes law enforcement-related activities broadly. These activities include stops, searches,
       pursuits, interrogations, investigations, and “any other instance in which the oﬀicer is
       enforcing the laws of the municipality, county or state.”
       50 ILCS 706/10-10. Moreover, the purpose of a public safety statement is to gather
       information in the immediate aftermath of an incident to determine whether further law
       enforcement action is necessary (e.g., whether there are suspects to pursue, ongoing threats,
       basis for charges, etc.). State law and the Consent Decree do not support an exception to the
       requirement that an oﬀicer record an ongoing law enforcement related activity.

Response:
As the OAG notes in the comment, the Illinois Law Enforcement Oﬀicer Worn Body Camera Act
(“Act”) (50 ILCS 706 / 10-1 et seq) sets forth the requirements for when an oﬀicer’s body worn
camera must be turned on: “Cameras must be turned on at all times when the oﬀicer is in uniform
and is responding to calls for service or engaged in any law-enforcement related encounter or activity
that occurs while the oﬀicer is on duty.” 50 ILCS 706/10-20(A)(3) (West 2022) (emphasis added). In
addition to specifying when a body worn camera must be turned on, the Act also speciﬁes what
constitutes a law-enforcement related encounter or activity, stating:
       “Law enforcement-related encounters or activities” include, but are not limited to, traﬀic
       stops, pedestrian stops, arrests, searches, interrogations, investigations, pursuits, crowd
       control, traﬀic control, non-community caretaking interactions with an individual while on
       patrol, or any other instance in which the oﬀicer is enforcing the laws of the municipality,
       county, or State. “Law enforcement-related encounter or activities” does not include
       when the oﬀicer is completing paperwork alone, is participating in training in a
       classroom setting, or is only in the presence of another law enforcement oﬀicer.
50 ILCS 706/10-10 (emphasis added). Based upon the plain language of the Act, the public safety
questions by one oﬀicer to another do not meet the deﬁnition of law enforcement-related encounters
or activities and an oﬀicer’s camera is not required to be turned on during the public safety questions.
Accordingly, CPD’s policy is consistent with applicable Illinois law.
IMT Comment
The IMT’s comment letter from August 6, 2023, states that “[t]he CPD has not updated its Body
Worn Cameras policy since April 2018.” This statement fails to recognize CPD’s eﬀorts regarding
this policy. As described above, CPD as produced, revised, and re-produced this policy ﬁve (5) times
to the IMT and OAG in addition to the innumerable discussions among the City, CPD, IMT, OAG
and the Court including but not limited to the policy, distribution of equipment and their use, and
access to recordings and related issues, questions and concerns. The IMT’s statement also fails to
recognize CPD’s ongoing updates to its procedures related to body-worn cameras and to promptly
inform its members of changes to procedure related to body-worn cameras through legal and training
updates. These eﬀorts are summarized below:
AMCs / Legal Bulletins:
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                   Jennifer.Bagby@CityofChicago.org (312)742-6408
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  1. On January 20, 2021, a Bureau of Patrol Announcement (BOP) was issued to all Department
     members with the following message:
     Department Members will activate the BWC system to event mode at the beginning of an
     incident and will record the entire incident for all law enforcement related activities. Law
     enforcement related activities include but are not limited to: arrests, traﬀic stops,
     investigatory stops, any encounter with the public that becomes adversarial after initial
     contact, searches of people, items vehicles, buildings & places, and any other instances when
     enforcing the law. S03-14 III.A.2 has a non exhaustive list of incidents where Department
     Members will activate their BWC. Please refer to the entire Special Order 03-14 for additional
     guidance on this policy. To be read at roll call for seven (7) days.
  2. On June 30, 2021, an AMC message was issued to all Department members by the Oﬀice of
     Legal Aﬀairs (OLA) along with a Legislative Update. The AMC contained the following
     message:
     This message informs Department members of selected revisions/additions to the Illinois
     Compiled Statutes. It only provides a brief synopsis (see attached) of the selected
     revisions/additions and does not provide statutory text. The eﬀective date of the selected
     revisions/additions to the Illinois Compiled Statutes is 01 July 2021. For the actual statutory
     language, go to www.ilga.gov. If there are any questions, call the Legal Aﬀairs Division at
     312-745-6115 or PAX 0245. To be read at roll call for ﬁve (5) consecutive days.
     Among the updates were changes related to Body Worn Cameras.
  3. Also on June 30, 2021, an AMC message was issued to all Department members along with
     an R&D update that speciﬁcally addressed the changes to BWC policy and procedure based
     upon the SAFE-T Act, which was eﬀective July 1, 2021. The AMC contained the following
     message:

     Department members are informed that Public Act 101-0652 titled the SAFE-T Act (Safety,
     Accountability, Fairness and Equity – Today), provides for a number of changes to the
     criminal justice systems in Illinois. Additionally, Public Act 102-0028 revised the SAFE-T
     Act and delays a number of the provisions that will be implemented over a number of years.
     However, the Department has identiﬁed speciﬁc topics that require immediate revisions to
     Department policy beginning 01 July 2021. Department members and supervisors will ensure
     compliance with the provisions of the law. The attached Update: R&D is a summary of the
     revisions required to Department policies based on the 01 July 2021 implementation of the
     SAFE-T Act. Revised directives in the Department Directives System will be forthcoming.
     *** NOTE: As a result of these changes, the Body Worn Camera Program eLearning that
     many members were recently enrolled in will need to be updated to conform with the new
     law. Therefore, the eLearning will be temporarily unavailable. Any portions of the eLearning
     viewed by Department members that conﬂict with the attached document or the SAFE-T


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       ACT should be disregarded. *** To be posted in the C.O. book and read at roll call for
       seven consecutive days.

   4. On February 23, 2023, an AMC message was issued to all Department members, containing
      the following:

       In accordance with Special Order S03-14, Department members will securely attach their
       Body Worn Cameras (BWC) to the front of their person consistent with training and ensure
       the BWC is on buﬀering mode prior to leaving the station. Department members must ensure
       their BWC remains on and in buﬀering mode throughout the entirety of their tour of duty
       except for appearances at court or hearings (S03-14 IV.A.3). Per the Law Enforcement
       Oﬀicer-Worn Body Camera Act (50 ILCS 706/10-20.a.3), “Cameras must be turned on at
       all times when the oﬀicer is in uniform and is responding to calls for service or engaged in
       any law enforcement-related encounter or activity that occurs while the oﬀicer is on duty.”
       Knowingly and intentionally failing to activate your BWC may result in Class 3 Felony
       charges Please refer to Special Order S03-14 and 50 ILCS 706 for further guidance. To be
       read at roll call for seven (7) days.

       A link to the Law Enforcement Oﬀicer-Worn Body Camera Act (50 ILCS 706) was also
       provided.

   5. On April 7, 2023, an AMC message was issued to all Department members along with a Body
      Worn Camera update from OLA. The AMC contained the following:

       Members should re-familiarize themselves with the notiﬁcation requirements found in
       General Orders 03-01-01 (Radio Communications) and 04-01 (Preliminary Investigations).
       Proper notiﬁcations to dispatch are necessary to ensure oﬀicer safety and accountability when
       responding to calls or incidents. Proper notiﬁcations also allow OEMC to assign the
       appropriate Event number to responding oﬀicers, which is critical for ensuring that captured
       BWC footage is properly tagged to an Event. Mislabeling or failing to properly tag BWC
       video to an Event may jeopardize investigations and prosecutions, as well as prevent
       members and the Department from preserving necessary evidence and records. Use these tips
       to help ensure videos will be matched with the proper event: ·Activate your BWC when
       assigned to a call, as required by Special Order S03-14· If you are assisting on a call notify
       dispatch that you are providing back up and have them place you on the event. · If there is
       a change in your beat number or car number, ensure the A&A’s are changed to reﬂect the
       correct information. · If more than one beat is assigned to the same car (i.e. Tact), then all
       beats need to be assigned to each event. · For self-initiated activity, obtain an event number
       from OEMC. **TO BE READ AT ROLL CALL FOR 7 CONSECUTIVE DAYS**
Training – Mandatory eLearnings and Streaming Videos to reﬂect changes to law and policy:
   1. AMC message issued on June 18, 2021 related to BWC eLearning for Detectives
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   2.   AMC message issued on June 25, 2021 related to BWC eLearning for Department members
   3.   AMC message issued on July 2, 2021 related to BWC eLearning for Department members
   4.   AMC message issued on January 24, 2022 related to BWC eLearning and streaming video
   5.   AMC message issued March 31, 2022 related to BWC streaming video.
Accordingly, the IMT’s remark that CPD has not updated the BWC policy since April 2018 is incorrect
and misleading, is inappropriate as part of the 627 process, and deso not foster collaborative
engagement between CPD, the IMT, and the OAG.
The City and CPD look forward to meeting to discuss ﬁnalizing this suite of policies. The City and
CPD propose using the BWC Policy meeting set for September 12, 2023, during the IMT’s site visit
as the ﬁrst meeting to discuss this policy. If this is acceptable to the IMT and OAG, the City and
CPD request that the IMT and OAG conﬁrm what speciﬁc topics they wish to discuss so that CPD
can ensure the appropriate individuals are in attendance. If this date does not work, we request that
the IMT and OAG please suggest dates for the requested meeting.
Please feel free to contact me with any questions or concerns.

                                              Sincerely,

                                              /s/ Jennifer K. Bagby
                                              Deputy Corporation Counsel
                                              City of Chicago Department of Law
                                              Public Safety Reform Division




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